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                                                                                  FILED: 8/14/2017 2:15 PM
                                                                                  Vickie Edgerly, District Clerk
                                                                                  Orange County, Texas
                                                                                  Reviewed By: Justin Rhodes

                              CAUSE N0B170275-C

 BARBARA G. WRIGHT                           §       IN THE DISTRICT COURT OF
                                             §
 VS.                                         §       ORANGE COUNTY, TEXAS
                                             §
 LIBERTY MUTUAL INSURANCE    §
 COMPANY and AARON BERKOWITZ §                       163rd JUDICIAL DISTRICT


                             PLAINTIFF'S ORIGINAL PETITION


 TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW, BARBARA G. WRIGHT, Plaintiff herein, who files this her Original

 Petition against the Defendant, LIBERTY MUTUAL INSURANCE COMPANY and AARON

 BERKOWITZ, and for cause of action would respectfully show the court as follows:

                                   A. Discover,y Control Plan

          1.    Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the

 Texas Rules of Civil Procedure.

                                           B. Parties

          2.    Plaintiff BARBARA G. WRIGHT is an Individual who resides in Orange County,

 Texas.

          3.    Defendant LIBERTY MUTUAL 1NSURANCE COMPANY is an insurance

 company registered to engage in the business of insurance in the State of Texas. This Defendant

 may be served with process by certified mail, return receipt requested, by serving its Agent for

 Service, Corporation Service Company, 211 East 7th Street, Suite 620, Austin, TX 78701.

          4.    Defendant, AARON BERKOWITZ, is a licensed Texas insurance adjuster who

 may be served with citation via certified mail, return receipt requested at 3412 Cactus Heights

 Lane, Pearland, TX 77581.


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                                            C. Jurisdiction

          5.    The court has jurisdiction over the cause of action because the amount in

 controversy is within the jurisdictional limits of the court.

          6.    The Court has jurisdiction over Defendants LIBERTY MUTUAL INSURANCE

 COMPANY and AARON BERKOWITZ because Defendants are citizens of the State of Texas

 and/or engages in the business of insurance in the State of Texas and the cause of action arises

 out of Defendants' business activities in the State of Texas.



          7.    Venue is proper in Orange County, Texas because the insured property is situated

 in Orange County, Texas. TEX. CIV. PRAC. & REM. CODE. § 15.032.

                                                E. Facts

          8.    Plaintiff was the owner of              Texas Homeowner's Policy number

 H3729810380370 issued by Defendant, LIBERTY MUTUAL INSURANCE COMPANY

 (hereinafter referred to as "the policy.") Plaintiff owns the insured property (hereinafter referred

 to as "the property."), which is specifically located at 9258 Bessie Heights Road, Orange, TX

 77630.

          9.    Defendant LIBERTY 1VIUTUAL INSURANCE COMPANY sold the policy,

 insuring the property that is the subject of this lawsuit, to Plaintiff. The Plaintiff suffered a

 significant loss with respect to the property as a result of water.

          10.   Plaintiff submitted a claim to Defendant with date of loss October 04, 2016 for

 water damage to the dwelling and contents of the home.

          11.   Defendants assigned claim number 034512485-01 to Plaintiffls claim.




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        12.     Defendants failed to properly adjust the claim and summarily improperly paid the

 claim with obvious knowledge and evidence of serious cosmetic and structural damage.

 Specifically Defendant AARON BERKOWITZ represented to Plaintiff that the damages were

 not covered and to the extent they were covered by the policy, they exceeded the deductible by

 less than $100.00. This misrepresentation of damages in contradiction to the policy benefits

 forced the Plaintiff to cover all of the cost of repairs out of the pocket despite the existence of

 indemnity under the policy or file suit to recover cost of repairs owed.

        13.     Defendants improperly paid Plaintiff's claim for replacement of the property by

 not providing full coverage for all areas of damage to the property, even though the policy

 provided coverage for losses such as those suffered by Plaintiff.

        14.     Defendants failed to perform their contractual duty to adequately compensate

 Plaintiff under the terms of the policy. Defendants failed and refused to pay the full proceeds of

 the policy, although due demand was made for proceeds to be paid in an amount sufficient to

 cover the damaged property and all conditions precedent to recovery upon the policy had been

 carried out and accomplished by Defendants. Such conduct constitutes breach of the insurance

 contract between Defendants and Plaintiff.

        15.     Defendants misrepresented to Plaintiff that the damage to the property was not in

 excess to the amount paid, even though the damage was caused by a covered occurrence.

 Defendants' conduct constitutes violations of the Texas Insurance Code.

        16.     Defendants failed to make an attempt to settle Plaintiff's claim in a fair manner,

 although they were aware of their liability to Plaintiff under the policy. Defendants' conduct

 constitutes violations of the Texas Unfair Competition and Unfair Practices Act. TEX. INS.

 CODE. Section 541.060(2).



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        17.    Defendants failed to explain to Plaintiff the reasons for their offer of an

 inadequate settlement. Specifically, Defendants failed to offer Plaintiff adequate compensation,

 without any explanations why full payment was not being made. Furthermore, Defendants did

 not communicate that any future settlements or payments would be forthcoming to pay for the

 entire losses covered under the policies, nor did it provide any explanation for the failure to

 adequately settle Plaintiff claim. Defendants' conduct constitutes violations of the Texas Unfair

 Competition and Unfair Practices Act. TEX. INS. CODE. Section 541.060(3).

        18.    Defendants failed to affirm or deny coverage of Plaintiff's claims within a

 reasonable time. Specifically, Plaintiff did not receive timely indication of acceptance or

 rejection, regarding the full and entire claims, in writing from Defendants. Defendants' conduct

 constitutes violations of the Texas Unfair Competition and Unfair Practices Act. TEX. INS.

 CODE. Section 541.060(4).

        19.    Defendants refused to fully compensate Plaintiff, under the terms of the policy,

 even though Defendants failed to conduct a reasonable investigation. Specifically, Defendants

 performed an outcome-oriented investigation of Plaintiffls claim, which resulted in a biased,

 unfair and inequitable evaluation of Plaintiff's losses on the property. Defendants' conduct

 constitutes violations of the Texas Unfair Competition and Unfair Practices Act. TEX. INS.

 CODE. Section 541.060(7).

        20.    Defendants failed to meet their obligations under the Texas Insurance Code

 regarding acknowledging Plaintiff's claims, beginning investigations to Plaintiff's claims and

 requesting all information reasonably necessary to investigate Plaintiff's claim within fifteen

 (15) days of receiving notice of Plaintiff claims. Defendants' conduct constitutes violations of

 the Texas Prompt Payment of Claims Act. TBX. INS. CODE. Section 542.055.



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        21.     Defendants failed to accept or deny Plaintiff's full and entire claims within fifteen

 (15) business days of receiving all required information. Defendants' conduct constitutes a

 violation of the Texas Prompt Payment of Claims Act. TEX. INS. CODE. Section 542.056.

        22.     Defendants failed to meet their obligations under the Texas lnsurance Code

 regarding payment of claims without delay. Specifically, Defendants have delayed full payment

 of Plaintiff's claims longer than allowed and, to date, Plaintiff has not yet received full payment

 for the claims. Defendants' conduct constitutes a violation of the Texas Prompt Payment of

 Claims Act. TEX. INS. CODE. Section 542.055.

        23:     From and after the time Plaintiff's claims were presented to Defendants, the

 liability of Defendants to pay the full claims in accordance with the terms of the policy was

 reasonably clear. However, Defendants have refused to pay Plaintiff in full, despite there being

 no basis whatsoever on which a reasonable insurance company would have relied on to deny the

 full payment. Defendants' conduct constitutes breaches of the common law duty of good faith

 and fair dealing.

        24.     As a result of Defendants' acts and omissions, Plaintiff was forced to retain the

 attorney who is representing Plaintiff in this cause of action.

        25.     Plaintiff's experience is not an isolated case. The acts and omissions Defendants

 committed in this case, or similar acts and omissions, occur with such frequency that they

 constitute a general business practice of Defendants with regard to handling these types of

 claims. Defendants' entire process is unfairly designed to reach favorable outcomes for the

 company at the expense of the policyholders.




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                                             Causes of Action

                              Causes of Action Ag_ainst Defendants

         26.    Defendant, LIBERTY MUTUAL INSURANCE COMPANY is liable to Plaintiff

 for intentional breach of contract, as well as intentional violations of the Texas Unfair

 Competition and Unfair Practices Act, the Texas Prompt Payment of Claims Act, and intentional

 breach of good faith and fair dealing. Defendant, AARON BERKOWITZ, is liable to Plaintiff

 for intentional violations of the Texas Unfair Competition and Unfair Practices Act, and the

 Texas Prompt Payment of Claims Act.

                                      G. Breach of Contract

         27.    Defendant LIBERTY MUTUAL INSURANCE COIVIPANY's conduct, as

 described above, constitutes a breach of the insurance contract made between Defendant and

 Plaintiff.

         28.    Defendant's failure and refusal, as described above, to pay the adequate

 compensation as it is obligated to do under the terms of the policy in question and under the laws

 of the State of Texas, constitutes material breaches of the insurance contract with Plaintiff.

 Plaintiff has suffered damages in the form of actual damages, consequential damages and

 reasonable and necessary attorney's fees.

                            Violations of the Texas Insurance Code

  Noncompliance with Texas Insurance Code Chapter 541: "Unfair Competition and Unfair
                                     Practices Act"

         29. - Defendants, LIBERTY MUTUAL INSURANCE COMPANY and AARON

 BERKOWITZ' conduct constitute multiple violations of the Texas Unfair Competition and

 Unfair Practices Act. TEX. INS. CODE Chapter 541. All violations under this article are made

 actionable by TEX. INS. CODE Section 541.151.


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        30.     Defendants' unfair practice, as described above, of misrepresenting to Plaintiff

 material facts relating to the coverage at issue, constitutes an unfair method of competition and

 an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE Sections

 541.051, 541.060 and 541.061.

        31.     Defendants' unfair settlement practice, as described above, of failing to attempt in

 good faith to effectuate a prompt, fair, and equitable settlement of the claims, even though

 Defendants' liability under the policy was reasonably clear, constitutes an unfair method of

 competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

 CODE Sections 541.051, 541.060 and 541.061.

        32.     Defendants' unfair settlement practice, as described above, of failing to promptly

 provide Plaintiff with a reasonable explanation of the basis in the policy, in relation to the facts

 or applicable law, for its offer of a compromise settlement of the claims, constitutes an unfair

 method of competition and an unfair and deceptive act or practice in the business of insurance.

 TEX. INS. CODE ANN. Sections 541.051, 541.060 and 541.061.

        33.     Defendants' unfair settlement practice, as described above, of failing within a

 reasonable time to affirm or deny coverage of the claims Plaintiff or to submit a reservation of

 rights to Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or

 practice in the business of insurance. TEX. INS. CODE Sections 541.051, 541.060 and 541.061.

        34.     Defendants' unfair settlement practice, as described above, of refusing to pay

 Plaintiffls claims without conducting a reasonable investigation, constitutes an unfair method of

 competition an unfair and deceptive act or practice in the business of insurance. TEX. INS.

 CODE Sections 541.051, 541.060 and 541.061.




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  Noncompliance with Texas Insurance Code Chapter 542: "The Prompt Payment of Claims
                                         Act"

        35.     Defendants, LIBERTY MUTUAL INSURANCE COMPANY and AARON

 BERKOWITZ' conduct constitute multiple violations of the Texas Prompt Payment of Claims

 Act. TEX. INS. CODE Chapter 542. All violations made under this article are made actionable

 by TEX. INS. CODE Section 542.060.

        36.     Defendants' failure, as described above, to acknowledge receipt of Plaintiff's

 claims, commence investigation of the claims, and request from Plaintiff all items, statements,

 and forms that they reasonable believed would be required within the applicable time constraints,

 constitutes a non-payment of the claims. TEX. INS. CODE Sections 542.055-542.060.

        37.     Defendants' delay of payment of Plaintiffls claims, as described above, following

 its receipt of all items, statements, and forms reasonably requested and required, longer than the

 amount of time provided for, constitutes a non-prompt payment of the claims. TEX. INS. CODE

 Sections 542.055-542.060.

                        Breach of the Duty of Good Faith and Fair Dealing

        38.     Defendant LIBERTY 1VIUTUAL INSURANCE COMPANY's conduct

 constitutes a breach of the common law duty of good faith and fair dealing owed to insured's in

 insurance contracts.

        39.     Defendant's failure, as described above, to adequately and reasonably investigate

 and evaluate Plaintiff's claims, although at that time Defendant knew or should have known by

 the exercise of reasonable diligence that its liability was reasonably clear, constitutes a breach of

 the duty of good faith and fair dealing.




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                                    H. Knowledge and Intent

        40.     Each of the acts described above, together and singularly, was done "knowingly"

 and "intentionally" and was a producing cause of Plaintiffs' damages described herein.

                             I. Texas Deceptive Trade Practices Act

        41.     Each of the acts described above, together and singularly, constitute a violation of

 the Texas Deceptive Trade Practices Act pursuant to its tie-in provision for Insurance Code

 Violations. Accordingly, Plaintiff also brought each and every cause of action alleged above

 under the Texas Deceptive Trade Practices Act pursuant to its tie-in provision.

        42.     At all times material hereto, Plaintiff was a consumer who purchased insurance

 products and services from Defendant, LIBERTY MUTUAL 1NSURANCE COMPANY.

 Defendant, LIBERTY MUTUAL INSURANCE COMPANY has violated the Texas Deceptive

 Trade Practices Act in the following manners:

               a.      Causing confusion or misunderstanding as to the source, sponsorship,
                       approval, or certification of goods or services;

               b.      Representing the goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or qualities which they do not
                       have or that a person has a sponsorship, approval, status, affiliation, or
                       connection which he does not;

               C.      Advertising goods or services with intent not to sell them as advertised;

               d.      Making false or misleading statements of fact concerning the reasons for,
                       existence of, or amount of price reductions;

               e.      Representing that an agreement confers or involves rights, remedies, or
                       obligations, which it does not have or involve, or which are prohibited by
                       law;

               f.      Misrepresenting the authority of a salesman, representative or agent to
                       negotiate the final terms of a consumer transaction; and

               g.      Failing to disclose information concerning goods or services which was
                       known at the time of the transaction and such failure to disclose such


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                         information was intended to induce the consumer into a transaction into
                         which the consumer would not have entered had the information been
                         disclosed;

                 h.      Engaging in an unconscionable course of conduct.


                                       J. Damages and Prayer

         44.     WHEREFORE, PREMISES CONSIDERED, Plaintiff herein, BARBARA G.

  WRIGHT complains of LIBERTY MUTUAL INSURANCE COMPANY and AARON

  BERKOWITZ and prays that Defendants be cited to appear and answer and that on a final trial

  on the merits, Plaintiff recover from Defendants the following:

         45.     Plaintiff would show that all of the aforementioned acts, taken together or

  singularly, constitute the proximate and/or producing causes of damages sustained by Plaintiff.

         46.     For breach of contract, Plaintiff is entitled to regain the benefit of her bargain,

  which is the amount of the claims, together with attorney's fees.

         47.     For noncompliance with the Texas Unfair Competition and Unfair Practices Act,

  Plaintiff is entitled to actual damages, which includes the loss of the benefits that should have

  been paid pursuant to the policy, including but not limited to direct and indirect consequential

  damages, mental anguish, court costs and attorney's fees. For knowing conduct of the acts

  complained of, Plaintiff asks for three times her actual damages. TEX. INS. CODE ANN.

  Section 541.060.

         48.     For noncompliance with Texas Prompt Payment of Claims Act, Plaintiff is entitled

  to the amount of his claims, as well as eighteen (18) percent interest per annum post judgment

  interest, as allowed by law, and for any other further relief, either at law or in equity, to which

  she may show herself to be justly entitled.




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         49.     For breach of the duty of good faith and fair dealing, exemplary damages as to be

  determined by the jury.

                                         Respectfully submitted,

                                         THE BYRD LAW FIRM, P.C.




                                             ~ `~ A'Q
                                         Jason M. Byrd
                                         State Bar No. 24036303
                                         Jason@txbyrd.com
                                         448 Orleans Street
                                         Beaumont, Texas 77701
                                         (409) 924-0660/(409) 924-0035
                                         ATTORNEY FOR PLAINTIFF

                                           JURY DEMAND

  Plaintiff respectfully demands a trial by jury.




                                         Jason M. Byrd




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CIVIL CITATION — CITCVWD

                                                   THE STATE OF TEXAS

To:     Liberty Mutual Insurance Company
        Corporation Service Company
        211 East 7th Street, Suite 620
        Austin TX 78701

        Defendant, NOTICE:
        YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not file a written answer
with the clerk who issued this citation by 10:00 A. M. on the Monday next following the expiration of twenty days after
you were served this citation and petition, a default judgment may be taken against you.
        Said ANSWER may be filed with the District Clerk's Office, Orange County Courthouse, 801 W Division Ave,
Orange Texas 77630.

        Said                    PLAINTIFF'S ORIGINAL PETITION

was filed and docketed in the Honorable 163rd District Court of Orange County, Texas at the District Clerk's Office at
the Orange County Courthouse, 801 W Division Ave, Orange, Texas on August 14, 2017 in the following styled and
numbered cause:

Cause No: 170275-C

Barbara G. Wright VS. Liberty Mutual Insurance Company et al

        The name and address of the attorney for plaintiff otherwise the address of Plaintiff is:
                 Jason M Byrd
              448 Orleans
              Beaumont TX 77701
        ISSUED AND GIVEN under my hand and seal of said Court at Orange, Texas, this August 14, 2017.
                                O
                        ......•:Vq~''~.                                VICKIE EDGERLY, District Clerk
                                   .0.(% =                             Orange County, Texas

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                                                        RETURN
         Came to hand on the          day of                      , 20       , at      o'clock       , M., and executed in
                         County, Texas, at       o'clock       .M., on the        day of                         , 20     ,
by delivering, in accordance with the requirements of law, to the within named                                In person, a
true copy of this citation together with the accompanying copy of the petition, having first endorsed thereon the date of
delivery.
         And not executed as to the defendant
the diligence used to execute being
the cause of failure to execute is
the defendant may be found


TOTAL FEES:                                               BY:
          Case 1:17-cv-00380-MAC Document 1-1 Filed 09/08/17 Page 13 of 14 PageID #: 20




                                                                                                                         NJP / ALL
                                                                                                     Transmittal Number: 17048335
Notice of Service of Process                                                                            Date Processed: 08/23/2017

Primary Contact:           Bruce Buttaro
                           Liberty Mutual Insurance Company
                           175 Berkeley Street
                           Boston, MA 02116

Entity:                                       Liberty Mutual Insurance Company
                                              Entity ID Number 1765547
Entity Served:                                Liberty Mutual Insurance Company
Title of Action:                              Barbara G. Wright vs. Liberty Mutual Insurance Company
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Orange County District Court, Texas
Case/Reference No:                            B170275-C
Jurisdiction Served:                          Texas
Date Served on CSC:                           08/22/2017
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Jason M. Byrd
                                              409-924-0660

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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Nell McCallum & Associates, inc.
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     2615 Calder, Suite 111                                                                                                                                        : :~.~ii.Li~ ; ~o,. ~~; co~~ ~ t ; o~
      Beaumont, TX 77702




                                                             Liberty Mutual Insurance
                                                             Serv: CSC
                                                             211 East 7th Street, Ste. 620
                  ri                                                                 _
                                                             Austin, Tx 78701



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